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                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE EASTERN DISTRICT OF TEXAS
                                         TYLER DIVISION

JOHN WINSTON FORRESTER, ET AL., §
                                §
     Plaintiffs,                §
                                §
v.                              §                               Civil Action No. 6:17cv561
                                §
WOOD COUNTY, TEXAS, ET AL.,     §
                                §
     Defendants.                §

                      STIPULATIONS REGARDING EXPERT DESIGNATIONS

TO THE HONORABLE COURT:

       Pursuant to Rule 29 of the Federal Rules of Civil Procedure, plaintiffs and defendants Wood
County, Kelly Smith, Kevin Atkinson, Stephen Cates, James A. Brown, and William Miles Tucker1
agree and stipulate to the following:

       1. The parties have filed a joint motion to amend the current Docket Control Order, extending
          certain deadlines, including the deadlines for plaintiffs’ designation of expert witnesses with
          written reports and for defendants’ designation of expert witnesses with written reports. The
          current deadline for plaintiffs to designate expert witnesses and provide reports is October
          11, 2018. The current deadline for defendants to designate expert witnesses and provide
          reports is November 12, 2018. The parties sought to extend the respective expert designation
          deadlines by approximately thirty (30) days for the plaintiffs and approximately thirty (30)
          days for the defendants.

       2. The plaintiffs’ deadline to designate expert witnesses and provide written reports will be
          stayed until the Court grants the motion to amend the Docket Control Order or until two (2)
          weeks after the Court denies the motion. Plaintiffs’ new deadline to designate expert
          witnesses and provide written reports will be the date indicated in the amended Docket
          Control Order or two weeks after the date of the order denying the motion to amend the
          Docket Control Order.

       3. The defendants’ deadline to designate expert witnesses and provide written reports will
          likewise be stayed until one (1) month after the new deadline for plaintiffs’ expert
          designation and reports.

       4. These stipulated extensions will not affect the time set for completing discovery, a hearing
          for a motion, or the trial date.




1
    It is unknown whether pro se defendants John Hammack and Jerry Boone joint in this joint stipulation.
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                                     Respectfully submitted,

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                                             JAMES A. BROWN

                                  CERTIFICATE OF SERVICE

        I hereby certify that on October 10, 2018, I electronically served the foregoing document via
the clerk of the court for the U.S. District Court, Eastern District of Texas to all counsel of record
and parties pro se via regular mail and certified mail, return receipt requested.


                                             /s/ Brett Gardner
                                             BRETT GARDNER




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